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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION
                                          4:24-cv-00181-WMR
                                       Sluder et al v. Phillips et al
                                      Honorable William M. Ray, II

                         Minute Sheet for proceedings held Remotely on 04/01/2025.


             TIME COURT COMMENCED: 1:00 P.M.
             TIME COURT CONCLUDED: 1:45 P.M.            COURT REPORTER: Geraldine Glover
             TIME IN COURT: 00:45                       DEPUTY CLERK: Sherri Lundy
             OFFICE LOCATION: Atlanta

         ATTORNEY(S)       Sam Harton representing Melanie Hogan Sluder and Ricky Shawn Curtis
         PRESENT:          William Driggers representing Monica Headrick
                           Charles Cole representing Rebecka Phillips
                           Elizabeth Crowder representing GBI
                           Noah Green representing Maveis Brooks
                           Garrett Greiner representing David McKinney
                           Annarita McGovern representing Russell Ballard
                           Ryan Ray representing Gilmer County and Sharon Ellis
                           C. Young representing Whitfield County DA
         PROCEEDING
                           Motion Hearing(Motion Hearing Non-evidentiary)
         CATEGORY:

         MOTIONS RULED
                           [30]Motion to Dismiss for Failure to State a Claim DENIED
         ON:
                           [63]Motion to Compel TERMINATED MOOT
                           [75]Motion for Protective Order GRANTED
                           [77]Motion to Quash TERMINATED MOOT
                           [82]Motion to Stay TERMINATED
                           [85]Motion for Extension of Time TERMINATED Any responses are due
                           on or before April 25th
                           [87]Motion for Extension of Time TERMINATED Any Responses are due
                           on or before April 25th




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         MINUTE TEXT:     Court held video hearing. The Court denies the Motion to Dismiss [Doc
                          30]; however Defendant has until Friday, April 4, 2025 to file with leave
                          the Motion to Stay which was included within the Motion to Dismiss. Any
                          response to the Motion to Stay being filed by April 4, 2025 will be due on
                          April 25, 2025. For continuity, the Court extends all response deadlines
                          for pending Motions to Stay [Doc 86 and Doc 88] to now be due on or
                          before April 25, 2025, therefore Motions for Extension of Time [Doc 85
                          and Doc 87 are TERMINATED]. The Motion for Protective Order [Doc
                          75] is GRANTED and will be entered under separate entry. The Motion to
                          Compel [Doc 63] is Terminated as Moot, the Motion to Quash [Doc 77] is
                          Terminated as Moot and the Motion to Stay [Doc 82] is Terminated as
                          Moot. Court will also enter separate Order to extend discovery.




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